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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )         4:04CR3099
             Plaintiff,                      )
                                             )
      vs.                                    )         MEMORANDUM
                                             )         AND ORDER
ROBERT VYHNALEK,                             )
ROSE VYHNALEK,                               )
and RICHARD CRAWFORD,                        )
                                             )
             Defendants.                     )

       The Court has been advised that the defendants request permission to enter pleas
of guilty. The Court is further advised that the defendants will consent to Judge Piester
conducting the hearing on the pleas of guilty.

      IT IS ORDERED that:

      1.     This case, insofar as it concerns these defendants, is removed from the trial
docket based upon the request of the defendants.

      2.     A hearing on the defendants’ anticipated pleas of guilty is scheduled before
Magistrate Judge Piester on the 20th day of September, 2005, at the hour of 2:30 p.m., in
Courtroom No. 2, United States Courthouse and Federal Building, 100 Centennial Mall,
North, Lincoln, Nebraska.

       3.     On or before the date set for the plea proceeding, counsel for plaintiff and
for defendants shall provide to the assigned probation officer their respective versions of
the offense for purposes of preparing the presentence investigation report.

       4.     For these defendants, the time between today’s date and the hearing on the
anticipated pleas of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. sec. 3161(h)(1)(I)&(h)(8)(A)(B).

      September 8, 2005.                         BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
